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        IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF GEORGIA
                    ROME DIVISION


UNITED STATES OF
AMERICA,
                                      CRIMINAL FILE NO.
V.                                    4:17-CR-006-01-HLM-WEJ

BRIAN HERNANDEZ
ACOSTA,

     Defendant.


                               ORDER

      This case is before the Court on the Motion to Suppress

Evidence filed      by    Defendant       Brian   Hernandez      Acosta

("Defendant") [50], on Defendant's Motion to Suppress

Statements     [51],     and   on   the     Non-Final    Report       and

Recommendation of United States Magistrate Judge Walter

E. Johnson [138].
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I.    standard of Review

      28 U.S.C. § 636(b)(1) requires that in reviewing a

magistrate judge's report and recommendation, the district

court "shall make a de novo determination of those portions

of    the    report    or    specified      proposed      findings    or

recommendations to which objection is made." 28 U.S.C. §

636(b)(1).     The Court therefore must conduct a de novo

review if a party files "a proper, specific objection" to a

factual finding contained in the report and recommendation.

Macort V. Prem. Inc., 208 F. App'x 781, 784 (11th Cir. 2006);

Jeffrey S. by Ernest S. v. State Bd. of Educ, 896 F.2d 507,

513 (11th Cir. 1990); United States v. Gaddy, 894 F.2d 1307,

1315 (11 th Cir. 1990); LoConte v. Dugger 847 F.2d 745, 750

(11th Cir. 1988).       If no party files a timely objection to a

factual finding in the report and recommendation, the Court

reviews that finding for clear error. Macort, 208 F. App'x at
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784.    Legal conclusions, of course, are subject to de novo

review even if no party specifically objects. United States v.

Keel, 164 F. App'x 958, 961 (11th Cir. 2006); United States

V. Warren, 687 F.2d 347, 347 (11th Cir. 1982).

II.    Background

       A.   Procedural Background

       On April 11, 2017, a federal grand jury sitting in the

Northern District of Georgia returned an indictment against

Defendant and two co-defendants, Nilageo Alvarez Acosta

("Defendant Alvarez Acosta"), and Jaime Adam Riano (''Mr.

Riano"). (Indictment (Docket Entry No. 1).) Count one of the

indictment charged Defendant and his co-defendants with

conspiracy to commit sex trafficking of a minor, in violation of

18 U.S.C. § 1594(c). (Id at 1-8.) Counts two, four, and five

charged Defendant with sex trafficking of various minors, in

violation of 18 U.S.C. § 1591. (IdL at 8-11.) Counts six and
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eight charged Defendant and his co-defendants with sex

trafficking of minors, in violation of 18 U.S.C. § 1591. (Id^iat

11,    12-13.)     Count       three       charged     Defendant      with

transportation of a minor for prostitution, in violation of 18

U.S.C. § 2423(a).           (jdl at 9.)        Count seven charged

Defendant and Defendant Alvarez Acosta with transportation

of a minor for prosecution, in violation of 18 U.S.C. §

2423(a).      (Id at 12.)       The indictment also contained a

forfeiture provision, ( j d at 13-15.)

      On May 13, 2017, Defendant filed his Motioh | to

Suppress Evidence and his Motion to Suppress Statements.

(Mot. Suppress Evidence (Docket Entry No. 50); Mot.

Suppress      Statements       (Docket       Entry   No.   51).)       On

September        13,   2017,     Judge       Johnson    conducted      an

evidentiary hearing with respect to those Motions.                 (Minute

Entry (Docket Entry No. 77).)
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      On December 5, 2017, the grand jury issued a First

Superseding Indictment against Defendant and his co-

defendants, adding two defendants, Anthony Joseph Lawhon

("Defendant Lawhon") and Brandi Rice Stumpe ("Defendant

Stumpe"), dropping Mr. Riano as a defendant, and bringing

more charges. (First Superseding Indictment (Docket Entry

No. 102).)     Count one of the First Superseding Indictment

charged Defendant and his co-defendants with conspiracy to

commit sex trafficking of a minor, in violation of 18 U.S.C. §

1594(c).     (Id at 1-9.)     Counts two, four, and five charged

Defendant with sex trafficking by force, fraud, and coercion

and sex trafficking of a minor, in violation of 18 U.S.C. §

1591.    (Jd. at 10-13.) Counts six, eight, and nine charged

Defendant and his co-defendants with sex trafficking by

force, fraud, and coercion and sex trafficking of a minor, in

violation of 18 U.S.C. § 1591. ( j d at 13-16.) Count three
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charged Defendant with transportation                of a minor ! for

prostitution, in violation of 18 U.S.C. § 2423(a). (Id, at 11.)

Count seven charged Defendant and Defendant Alvarez

Acosta with transportation of a minor for prosecution^ in

violation of 18 U.S.C. § 2423(a).            (Id at 14.)     Count ten

charged Defendant and Defendant Lawhon with production

of child pornography, in violation of 18 U.S.C. § 2251(a). (jd

at 17.) Count eleven charged Defendant with possession of

child pornography, in violation of 18 U.S.C. § 2252(a)(4)(B).

(Id   at   17-18.) Count twelve           charged     Defendant        with

engaging in a child exploitation enterprise, in violation of 18

U.S.C. § 2252A(g). (Id at 18-19.) Count thirteen charged

Defendant with obstructing enforcement of 18 U.S.C. § 1591,

in violation of 18 U.S.C. § 1591(d).           (Jd at 19-20.)         Count

fifteen    charged      Defendant,      Defendant       Lawhon,        and

Defendant Stumpe with distributing a controlled substance to
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a person under twenty-one years of age, in violation of 21

U.S.C. § 859(a). (Jd at 21.) The first superseding indictment

also contained a forfeiture provision. (Id, at 22-25.)

      On December 19, 2017, Judge Johnson issued his Non-

Final Report and Recommendation.                (Non-Final Report &

Recommendation (Docket Entry No. 138).) Judge Johnson

recommended that the Court deny the Motion to Suppress

Evidence and the Motion to Suppress Statements. (Jd,)

      As of the date of this Order, the Clerk's docket indicates

that Defendant has not filed Objections to the Non-Final

Report and Recommendation. (See generally Docket.) The

time period for filing Objections has expired,^ and the Court

finds that the matter is ripe for resolution.




     The three-day extension for mailing no longer applies to
documents, such as the Non-Final Report and Recommendation,
served via the Court's electronic filing system.
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      B.     Factual Background

     On December 19, 2016, Detective Aberhoff of the IVIiami

Dade       Police   Department     contacted      the   Dalton    Pdljce

Department concerning A.M., a sixteen-year-old girl who had

been missing for approximately three months. (Tr. (Docket

Entry No. 82) at 8, 47.)^          Detective Aberhoff spoke with

Detective Aaron Simpson of the Dalton Police Department.

(Jd at 6-7.)        Detective Simpson is also assigned to the

Federal Bureau of Investigation's ("FBI") Conasauga Safe

Streets Force.         (Jd)     Detective Aberhoff conveyed to

Detective Simpson that, during the course of her search for

A.M., she detected activity on Facebook by A.M., under an

alias, and had served subpoenas on Facebook to attempt to

determine A.M.'s location. (Jd at 8-9.) A review of A.M:'s

^    The Court, like Judge Johnson, uses the spelling for
Detective Aberhoffs last name found in the transcript. (Non-
Final Report & Recommendation at 2 n.2.)
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Facebook activity log showed IP addresses associated with

her Facebook page. (Jd, at 9.) A review of the IP addresses

pointed to a cell phone registered to T-Mobile, which

detectives then subpoenaed.           (Id.) A review of T-Mobile's

subpoena responses indicated that Defendant was the

account holder for the device that A.M. had used to log into

Facebook. (Id, at 9, 77.)

      Detective Aberhoff gave Detective Simpson the address

linked to Defendant's T-Mobile account in Dalton, as well as

two other Dalton-area addresses, and asked him to check

the addresses to see if he could locate A.M. (Tr. at 9-10.)^

Detective Simpson looked up Defendant in the Dalton Police

Department's report system to corroborate the addresses,



^    The addresses included 2410 Scott Drive and 496
Horseshoe Way, Apt. J-204. (Tr. at 9-10.) The detectives
determined that the third address associated with Defendant was
a restaurant that was no longer in business. (Id, at 10, 12.)
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examined Defendant's           Facebook      page to identify him,

obtained a copy of Defendant's driver's license, and obtained

a photograph of A.M. from Detective Aberhoff. (JdL at 10.) I

      Detective Simpson, accompanied by Detective Tucker,

first traveled to 2410 Scott Drive, and arrived there at

approximately 2:00 p.m.             (Tr. at 10.)       The detectives

encountered a woman in a basement-type apartment, and

they showed her a picture of Defendant.               (Jd, at 11.)     The

woman recognized Defendant, but reported that Defendant

was not there and did not live there. (Jd)

      The detectives then traveled to 496 Horsehoe Way,

which was an apartment complex called Dawnville Meadows.

 (Tr. at 11.) The detectives made contact with the apartment

complex manager, who confirmed that Defendant lived there

 in unit J-204 and described his vehicle. (Jd, at 11, 64.) The

detectives also showed A.M.'s photograph to a maintenance
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worker for the complex, who remembered that he had seen

her crying behind a dumpster near Defendant's apartment

only a couple of weeks earlier. (Id.) No one answered when

the detectives knocked on the door of unit J-204. (Jd at 12.)

       While at the complex, Defendant Simpson received a

telephone call from another Dalton                Police    Department

detective, who stated that Defendant had called the police

department wanting to know why the police were looking for

him.     (Tr. at 12.)       Detective Simpson asked the other

detective to obtain contact information for Defendant and

said that Detective Simpson would call him back.                       (Jd)

When Detective Simpson returned to the station, he found a

 note from the other detective listing three callback telephone

 numbers for Defendant.           (Jd at 12-13, 49.)        One of the

 numbers was for Defendant's personal cell phone, 706-218-

0655. (Jdat 13-14, 48-49, 73.)
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      At approximately 4:00 p.m. on December 19, Detective

Simpson made a recorded call to Defendant's personallcell

phone.      (Tr. at 13.)     Defendant answered, and Detective

Simpson explained that he was looking for a missing sixteen-

year-old girl from Miami known as A.M., that he had

information indicating that Defendant knew where A.M. was

or where she had been, and that Defendant had been

associated with A.M.            (Id,)    Detective Simpson asked

 Defendant directly where A.M. was and how he could find

 her to get her home before Christmas.                (Id,)   Defendant

denied knowing A.M. (Jd, at 14.) Defendant claimed that he

was in Tampa, Florida, until January 18, 2017, but stated

that he would contact Detective Simpson if he had further

 information.      (Jd, at 14, 41.)         Defendant never called

 Detective Simpson back. (Jd, at 14.) Defendant was actually

 in Dalton, not Tampa. (Jd, at 41.)
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      On or about December 28, 2016, Detective Aberhoff

contacted the Dalton Police Department and advised that

she had located A.M.'s photograph in an advertisement

posted in the escort services section of a website called

www.Backpage.com. (Tr. at 15-16.) It appeared that A.M.

was in an advertisement for prostitution services, and the

detectives became concerned that a missing person case

was turning into a sex trafficking case for a minor who

 needed to be found and rescued, (jd, at 16-17.)

      On that same day, law enforcement officers attempted

to conduct an operation designed to recover A.M. and any

other minors being trafficked for commercial sex. (Tr. at 17,

47-48.) Attempts to contact the telephone number listed in

the     advertisement       with     A.M.,     706-463-8899,           were

 unsuccessful. (Jd, at 17-18, 48, 71.)


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      On December 29, 2016, Detective Simpson, acting in an

undercover capacity, sent text messages and placed calls to

(706) 463-8899, the number on the advertisement featuring

A.M., in an attempt to meet and rescue A.M. at a Dalton

hotel room located at 1507 N. Tibbs Road, under the guise of

requesting escort services. (Tr. at 18-19, 42.) Between 2:00

p.m. and 3:00 p.m.. Detective Simpson received a response

from someone who called herself "Bianca," later identified as

minor victim L.H. (Id, at 19, 82.) Detective Simpson asked

for "Rachel," A.M.'s Backpage identity, and L.H. advised that

A.M. was not available but that she was.                    (Jd, at 19.)

Detective Simpson asked L.H. if she could do an "outcall," or

travel to his location. (Jd, at 19, 72.) L.H. responded that

she could, that she could meet Detective Simpson within

thirty minutes, and that her rate was $150 for one-half hbur.


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(Jd at 19, 42, 63-64, 82.) Detective Simpson provided LfH.

witli the address and hotel room number. (Jd at 20, 82.)

      Sometime before 3:00 p.m., a surveillance unit providing

support near the designated hotel observed a car enter a

 nearby parking lot and drive recklessly. (Tr. at 20, 47, 82.)

When law enforcement officers stopped the vehicle for

 reckless driving, they encountered L.H. in the passenger

seat and Defendant Alvarez Acosta in the driver's seat. (Jd

 at 20.)   Because Defendant Alvarez Acosta had the same

 last name as Defendant and had a girl in his vehicle.

 Detective Simpson believed that officers had stopped the

vehicle transporting the girl for an outcall.                 (Jd)     For

verification. Detective Simpson called the same number that

 he had used to make contact with "Bianca," and a phone in

 the possession of Defendant Alvarez Acosta and L.H. rang.

 (Jd at 21.)
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      Georgia Bureau of Investigation ("GBI") Agent Rene

 Green and Detective Tucker interviewed L.H. on the scene

 beginning at approximately 3:00 p.m., and they relayed what

 they learned to Detective Simpson.               (Tr. at 21, 74-75.)

 During the      interview,     L.H. stated that       Defendant       was

 prostituting her, that Defendant knew she was a seventeen-

 year-old high school student, that Defendant Alvarez Acosta

 had driven her to the hotel for the purpose of commercial

 sex, and that A.M. looked familiar to her. (Id, at 21-22.) L.H.

 also explained that Defendant Alvarez Acosta and Defendant

 are brothers, and stated that Defendant had been calling

 Defendant Alvarez Acosta's cell phone repeatedly during the

 traffic stop.   (Jd, at 22.)    L.H. added that Defendant ran a

 prostitution operation out of his apartment at 496 Horseshoe

 Way, J-204. (Jd,) L.H. also stated that Defendant used his

 personal cell phone to take pictures of her and other girls,
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and then used that cell phone to post the pictures on

Backpage. (Jd, at 22, 72-74.)

      Based on the initial information from L.H.'s interview,

Detective Simpson, FBI Special Agent Susan Scott, and

other law enforcement officers traveled to the Dawnville

Meadows        Apartments       on    December       29    to   set    up

surveillance. (Tr. at 22-23, 47-48.) While waiting there from

approximately 3:00 to 4:00 p.m.. Detective Simpson received

periodic updates from Detective Tucker about his continuing

interview with L.H. (Jd, at 23, 75.)

      At approximately 4:00 p.m., as Detective Simpson and

Agent Scott sat in Detective Simpson's vehicle. Defendant,

accompanied by a male passenger, parked in the adjacent

space, exited his vehicle, and began running toward his

apartment.      (Tr. at 23-26, 52, 79.)       As Detective Simpson

exited his vehicle. Defendant suddenly turned around and
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ran back toward his car. (Jd at 24, 52.) Detective Simpson,

who was        unsure whether        Defendant      had noticed        the

surveillance units and might be trying to leave, showed

Defendant his badge, identified himself as law enforcement,

informed Defendant that they needed to talk, and directed

Defendant to the back of his car. (Jd at 24, 4 1 , 53-54.) At

about the time that Defendant reached the back of his car,

he removed a cell phone from his pocket.            (Jd at 55.)

      The cell phone in Defendant's possession was a gold

Samsung Galazy. (Tr. at 44.) Detective Simpson testified to

his belief that L.H. had described the appearance of

 Defendant's cell phone during her interview with Detective

Tucker. (Jd at 55-56, 58-59.) The Court agrees with Judge

Johnson that, "[gjiven L.H.'s report that Defendant had used

 his personal cell phone to take photographs of her and other

girls and post them, on Backpage, and given Defendant's
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vehement and repeated protests that Detective Simpson

could not take his personal cell phone . . ., it was reasonable

for Detective Simpson to believe that the cell phone in

Defendant's hand was the one mentioned by L.H. even if he

did not know the color,               make, and model when             he

encountered Defendant at the apartment complex." (Jd, at 9

n.5.)

        After Defendant saw Detective Simpson's credentials,

 Defendant asked a series of questions, including, "What's

this about?" "Why are you stopping me?" and "Why are we

doing this in front of my house?"             (Tr. at 25.)     Detective

Simpson       wanted     to    talk    to   Defendant,     but,    before

 proceeding. Detective Simpson, accompanied by FBI Agent

 Manson, patted down Defendant for weapons. (Jd, at 25-26,

53.) Defendant Simpson conducted the pat down for officer

safety, as, in his experience, individuals involved in pimping
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and sex trafficking commonly carry weapons.                 (Jd, at 26.)

The officers did not find weapons, (id, at 54.)"^

      Detective Simpson told Defendant that he needed to

ask him some questions, but that he would first need to

retrieve his notebook and a recorder from his nearby vehicle.

(Tr. at 25, 27, 55.)          Detective Simpson retrieved those

materials,     (id,)^   Defendant was not under arrest, was not

handcuffed, and was not restrained in any way, and no one

ever pointed a gun at him. (id, at 26-27.) Although Detective




      While Detective Simpson and Agent Manson focused on
Defendant, Agent Scott focused on questioning Defendant's
male passenger. (Tr. at 26.) All officers were in plainclothes.
(Jd, at 69.) Sergeant Zahn was also present and was heard only
briefly on the recording. (Jd, at 67-68.) Detective Murray was
also at apartment complex but was not close to where the
encounter occurred. (Id, at 68.)
^     Detective Simpson's practice is to record all interviews. (Jr.
at 28.) The Government presented the recording that Detective
Simpson made of his encounter with Defendant as Government
Exhibit 1. (id, at 39-40, 54-55.)
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Simpson and tine other officers had firearms, the weapons

were concealed. (Jd at 27-28, 43, 68-69.)

      Detective Simpson reminded Defendant that they had

spoken via telephone earlier that day and that officers were

looking for A.M., a missing sixteen-year-old female from

Miami.       (Tr. at 28.)       Detective Simpson testified that

Defendant responded in an argumentative and aggressive

fashion, which led Detective Simpson to get firm with

Defendant and remind him that his was a serious matter.

(Jd) According to Detective Simpson, Defendant said things

such as he did not know what Detective Simpson was talking

about, that officers had stopped him for no reason, and that

officers did not have probable cause.                 (Jd at 29, 77.)

Detective     Simpson       began     to   become      frustrated      with

Defendant because he believed that Defendant was lying

about having no association with A.M., and because recent
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events showed that Defendant was also associated with

L.H., a second minor victim.           (Jd, at 2 8 . f   In response to

Defendant's demands, Detective Simpson explained the

probable      cause    that   officers     had    developed     so     that

Defendant would realize that the officers had more than "just

a hunch" that Defendant was associated with A.M. and L.H.

(Jdat29.)

      When Detective Simpson realized that the conversation

was     going    nowhere      in   light   of    Defendant's    lack     of

cooperation, he explained to Defendant that: (1) Defendant

was not under arrest, but was not free to leave; (2) officers


     Detective Simpson testified that evidence contradicted
Defendant's claim that he did not know A.M. (Tr. at 78.) For
instance, the T-Mobile records showed that: (1) A.M. had been
using a cell phone connected to Defendant; (2) L.H., who was
found in a car with Defendant's brother with a cell phone that
Defendant had been calling repeatedly, informed Detective
Tucker that she knew A.M.; and (3) the maintenance man at the
apartment complex where Defendant lived recognized A.M. and
had recently seen her crying beside a dumpster. (Id.)
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believed     Defendant      was    operating     a   prostitution      ring

involving minor girls out of his apartment; (3) officers would

be securing Defendant's apartment and cell phone; and (4)

agents would be preparing search warrant applications for

Defendant's apartment and cell phone. (Tr. at 29, 32-33, 44,

67; Gov't Ex. 1.)      Defendant, after hearing this information,

became more aggressive and belligerent, asserting: "You

can't take my phone. I want to talk to a lawyer." (Jd, at 29,

73-74.)     Detective Simpson gave Defendant permission to

call a lawyer.      (Jd, at 30.)   Defendant, however, could 'hot

remember the lawyer's name or find his number after going

through his cell phone's contacts.               (Jd, at 30-32, 60.)

Defendant called a friend to get the name of a lawyer, but the

friend did not answer. (Jd, at 31, 60-61 .f


^    The Court agrees with Judge Johnson's assessment of the
recording, and concurs that nothing on that recording causes
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      Defendant continued to argue with Detective Simpson

concerning whether officers could seize his personal cell

phone. (Tr. at 30; Gov't Ex. 1.) Detective Simpson stated

that he had probable cause to believe that Defendant'sicell

phone contained evidence of child sex trafficking, and that,

while the officers would not search the phone at that moment

because it would take time to prepare a warrant application,

officers could take the phone to prevent Defendant from

deleting any evidence stored in it.           (Tr. at 30.)     Detective

Simpson testified that the contents of a cell phone could

easily be deleted by someone holding the phone or could be

deleted by remote means.             (Jd)    According to Detective

Simpson, the phone could also be broken, which could

destroy the evidence on the phone. (Id.) Detective Simpson




concern. (Non-Final Report & Recommendation at 12 n.9.)
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wanted the cell phone's contents preserved for use in finding

A.M. and any other minor victims. (Id.)

      Detective Simpson took hold of Defendant's wrist so

that Defendant could not throw or destroy his cell phone, and

took the phone out of Defendant's hand. (Tr. at 33, 44, 49.)

Although Defendant protested, Detective Simpson secured

the phone, returned with it to his office, and began preparing

an application for a warrant to search it.              (Id at 33-34.)

Detective Simpson secured the cell phone by placing it in

airplane mode without entering the phone itself, and by

placing the phone in an evidence bag.                   (Jd at 61-62.)

Airplane mode would prevent anyone from remotely locking

or wiping the data off the device. (Jd)^




     Defendant's cell phone was initially searched pursuant to a
January 3, 2017, Whitfield County search warrant. (Tr. at 35-
37.) Law enforcement obtained a federal search warrant on
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      Approximately        twelve     minutes      elapsed      between

 Detective Simpson's first encounter with Defendant at the

apartment complex and his seizure of Defendant's phone.

(Tr. at 39.) During that time period, no one placed Defendant

in handcuffs, restrained him, or made physical contact with

him, with the exception of Detective Simpson taking hold of

his wrist to seize the phone. (Jd, at 43-44.)            Other than his

cell phone, no other item was seized from Defendant's

person on that day. (Jd, at 38, 45, 50.)

      While Detective Simpson worked on a search warrant

application for Defendant's cell phone, Detective Tucker

finished interviewing L.H. and began working on a search

warrant     application    for   Defendant's      apartment      at    496

Horseshoe Way, J-204. (Tr. at 34, 71.) Detective Simpson


June 27, 2017, after issues arose with executing the Whitfield
County warrant. (Jd,; Gov't Exs. 2-3.)
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also interviewed Defendant Alvarez Acosta, who had been

arrested after the traffic stop.        (Jd, at 34, 70-71.)      Officers

also worked to prepare a search warrant application for

L.H.'s cell phone, for Defendant Alvarez Acosta's cell phone,

and for an e-mail account associated with the Backpage ads.

(Jd, at 35, 71.)

      Between 4:00 and 6:15 p.m., while Defendant waited

outside his apartment with the other agents, officers offered

Defendant a jacket and water, which Defendant declined.

(Tr. at 38, 46, 70.)^       Defendant remained detained on the

scene while the investigation continued, and he never

complained that he was physically harmed.                (Jd, at 44-46.)

Detective Simpson testified that, other than the twelve-

minute interaction previously described, no interrogation of

^   The Court agrees with Judge Johnson's assessment of
Defendant's complaints about the cold. (Non-Final Report &
Recommendation at 15 n. 13.)
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Defendant occurred, and Defendant was not threatened or

beaten while he waited.           (Id at 38-39, 45-46.)        Although

Defendant was not free to leave, he was not restrained or

placed in handcuffs until he was arrested at approximately

6:15 p.m.       (id at 38-39, 45-36, 66-67, 79.)               After the

investigative activity described above and a conference

among the officers about the evidence collected. Detective

Tucker made the decision to arrest Defendant for prostitution

of a minor, ( j d at 59, 70.) The arrest occurred before the

search of Defendant's apartment. (Id)

III.   Discussion

       A.   Motion to Suppress Evidence

       Judge    Johnson       accurately     summarized        the     law

governing        the     Fourth      Amendment          and      exigent

circumstances. (Non-Final Report & Recommendation at 16-

18.) The Court agrees with Judge Johnson that "the record
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is clear that Detective Simpson had probable cause to

believe that Defendant was engaged in sex trafficking of

underage girls and that his cell phone contained evidence

relevant to that suspected crime."              (Id, at 18 (footripte

o m i t t e d ) . J u d g e Johnson also properly found that "[t]he

risk of loss or destruction of evidence if Defendant were

allowed to retain his cell phone while officers applied for a

warrant to search it created exigencies which outweighed

prior recourse to a neutral magistrate." (jd, at 19 (citations

omitted).) Under those circumstances, the Court agrees with

Judge Johnson that the Government met its burden to show

probable cause and exigent circumstances, and denies



      In reaching this conclusion, Judge Johnson properly
rejected Defendant's challenge to L.H.'s veracity as an
unconfirmed informant, and correctly rejected Defendant's
argument that Detective Simpson had not received a description
of the Gold Samsung Galaxy cell phone before its seizure.
(Non-Final Report & Recommendation at 19 n.15.)
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Defendant's Motion to Suppress Statements, whicin pertains

to Defendant's cell phone. (JdL at 19-20.)

      B.    Motion to Suppress Statements

      Judge Johnson correctly noted that the right to Miranda

warnings "attaches when custodial interrogation begins."

(Non-Final      Report    &   Recommendation          at 21     (internal

quotation marks and citation omitted).)                Judge Johnson

accurately set forth the law governing whether a suspect is in

custody for Miranda purposes,            (jd, at 21-22.)     The Court

further agrees with Judge Johnson that, considering the

totality of the circumstances here. Defendant was not in

custody during the twelve-minute exchange prior to the

seizure of his cell phone, and Miranda warnings were not

necessary.      (Id, at 22-24.)     No one questioned Defendant

after the seizure of Defendant's cell phone. (Jd, at 24.) The

Court further       agrees with      Judge      Johnson     that,      even
                                    30
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presuming tliat Defendant's detention lasted for two and one-

quarter    hours,    the    length    of   the   detention     was     not

unreasonable under the totality of the circumstances. (Id. at

24-26.) Alternatively, the Court agrees with Judge Johnson

that "there was probable cause to arrest Defendant upon

Detective Simpson's initial encounter with him on December

29, . . . based on all the evidence that had been collected to

that point." ( j d at 26-27.) The Court therefore adopts this

portion of the Non-Final Report and Recommendation, and

denies Defendant's Motion to Suppress Statements.

IV.   Conclusion

      ACCORDINGLY, the Court ADOPTS the Non-Final

Report and Recommendation of United States Magistrate

Judge Walter E. Johnson [138], DENIES Defendant's Motion

to Suppress Evidence [50], and DENIES Defendant's Motion


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to Suppress Statements [ 5 1 .

      IT IS SO ORDERED, this t h e ^ day of January, 2018.


                  SENIOR UNIT/ED STATES/DI STRICT JUDGE




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